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     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                             )    CR. NO. S-08-0376 EJG
                                                            )
12               Plaintiff,                                 )
                                                            )    STIPULATION AND ORDER TO
13    v.                                                    )    CHANGE JUDGMENT AND SENTENCE
                                                            )    TO STATUS CONFERENCE
14    NICHE FORTUNE,                                        )
                                                            )
15               Defendant.                                 )
                                                            )
16                                                          )
17
18           THE PARTIES HEREBY STIPULATE AS FOLLOWS:
19           Mr. Fortune is scheduled for sentencing on May 27, 2011. However, he may be called as a
20   witness at the trial of several co-conspirators in this case. As such, the government will not be able to
21   fully determine its sentencing recommendation until after the trial, which is set to begin September 12,
22   2011.
23           Per agreement with the government and defense counsel, it is respectfully requested that the
24   sentencing, currently set for May 27, 2011, at 10:00 a.m., be vacated and that the case be re-set for
25   status on sentencing for October 28, 2011, which is currently the status date set for several cooperating
26   co-defendants.
27           It is anticipated that at that time, the parties will be in a better position to request a new
28   Judgment and Sentencing date and disclosure schedule for the pre-sentence report.

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 1                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 2
 3   Date: 5/23/11                                  /s/ Russell L. Carlberg
                                                 By: RUSSELL L. CARLBERG
 4                                               Assistant United States Attorney
 5
 6
     Date: 5/23/11                                  /s/ Michael Long*
 7                                               MICHAEL LONG
                                                 Attorney for Defendant Michael Long
 8
 9                                                  ORDER
10          For the reasons stated above, the Court vacates the sentencing hearing currently set for May 27,
11   2011. The Court re-sets the matter for a status conference on sentencing for October 28, 2011, at 10
12   a.m.
13
            IT IS SO ORDERED this 23rd day of May, 2011.
14
15                                               /s/ Edward J. Garcia
                                                 EDWARD J. GARCIA
16                                               UNITED STATES DISTRICT JUDGE
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28   *Signed with permission.

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